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                                                 UNITED STATES BANKRUPTCY COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                 ORLANDO DIVISION
                                                 CHAPTER 13
                                                 Case No.: 13-8169-ABB
In RE:
         DEBORAH ANN BAIARDO,
             Debtors.
                            /

     MOTION, JOINT STIPULATION AGREEMENT TO AMEND ORDER GRANTING
                 MOTION TO VALUE NATIONSTAR MORTGAGE
                              DOCUMENT 17

         COMES NOW the parties and hereby enter into this Joint Stipulation Agreement and jointly

move this Honorable Court for an Order approving the Joint Stipulation Agreement and Amend Order

Granting Motion to Value Nationstar Mortgage regarding real property located at 17-19 Dogwood

Trail, Debary, FL 32713, (D.E. 17), and states the following:

         1.     On August 9, 2013, the Court entered an Order Granting Motion to Value Nationstar

Mortgage (D.E. 17; “Order”) for the property located at 17-19 Dogwood Trail, Debary, FL 32713

(“Subject Property”).

         2.     The Order provided that Nationstar shall have an allowed secured claim in the amount

of $75,520.00 re-amortized over 30 years, with a contract interest rate of 5.25% payable at $417.02 for

months 1 to 23 and a balloon in the amount of $73,750.11 due in month 24.

         3.     On December 23, 2014, the Court entered an Order Granting Debtor’s Motion to

Modify Plan (D.E. 63). The Modified Plan provided increased payments of $1,153.30 in months 18 to

20 towards Nationstar’s claim.

         4.     As a result of the increased payments provided to Nationstar in months 18 to 20, the

balloon payment has been reduced.

         5.     The balloon payment due in month 24 of the plan is now $71,541.27.




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        6.      The Order shall be amended to state the following: Nationstar shall have an allowed

secured claim in the amount of $75,520.00 re-amortize for thirty years, with a contract interest rate of

5.25% interest payable at $417.02 months 1 to 17, $1,153.30 months 18 to 20 and a balloon of

$71,541.27 due on month twenty four (24) and allowed a general unsecured claim in amount of

approximately $122,923.40 for purposes of distribution through the Debtor’s Chapter 13 Plan.

        7.      Should the Debtor fail to complete their Chapter 13 Plan and receive a discharge of

their Chapter 13 bankruptcy case, whether due to dismissal or conversion, then the lien shall remain in

full force and effect.

        8.      All other terms of the Order will remain in full force and effect.

        WHEREFORE, Debtor respectfully requests that this Court enter an order granting this Motion

and approving this Joint Stipulation Agreement in amending the Order Granting Motion to Value

Nationstar Mortgage and reduce the balloon amount to $71,541.27, and granting such other and further

relief as is just and proper.




/s/ Shaina Druker                                      /s/Georgina Roman-Secor
SHAINA DRUKER, ESQUIRE                                 GEORGINA ROMAN-SECOR, Esq.
FL BAR NO: 100213                                      FL. Bar No: 0191980
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                                      CERTIFICATE OF SERVICE
        I HEREBY CERTIFY a true copy by Electronic Transmission by: United States Trustee,
Orlando Division, 400 W. Washington Street, Suite 5100, Orlando, FL 32801; Chapter 13 Trustee,
Laurie Weatherford, Post Office Box 3450, Winter Park, FL 32790; and a true copy by U.S.
Mail/Electronic Mail to Debtor, Deborah Ann Baiardo, 891 Valencia Avenue, Orange City, FL 32713;
Officer, Agent, or Manager of NATIONSTAR MORTGAGE, Attn: Bankruptcy Dept., 350 Highland
Drive, Lewisville, TX 75067; Officer, Agent, or Manager of NATIONSTAR MORTGAGE, Brock &
Scott, PLLC c/o nhornaday@wolfelawfl.com, midbkmail@wolfelawfl.com,
shaina.Druker@brockandscott.com on this 2 day of December, 2015.

                                                       Respectfully Submitted,

                                                       /s/ Georgina Roman-Secor, Esq.
                                                       Georgina Roman-Secor, Esquire
                                                       FL. Bar No: 0191980
                                                       Law Office of Román-Secor, P.A.
                                                       2290 South Volusia Avenue, Suite D
                                                       Orange City, FL 32763-7600
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                                                       Fax No.: (386) 775-6633




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